The superintendent of banks, acting for and on behalf of the Farmers' State Bank of Tolstoy, an insolvent corporation, secured a judgment in the lower court for the cancellation of a mortgage given by the bank upon a tract of land in Faulk county to a trustee, as security for the repayment of deposits in the said bank of county funds. This is a first mortgage, but is upon farm lands outside of the county of Potter. These appeals involve similar facts, and are ruled by the principles announced in the opinion in Strain, Superintendent of Banks of the State of South Dakota, Acting for and on Behalf of the Hoven State Bank, an Insolvent Corporation, v. Potter County, 63 S.D. 24,256 N.W. 147. For reasons therein announced the judgment and order here appealed from are affirmed.
All the Judges concur. *Page 158 